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                        EXHIBIT 20
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                                                                      OREGON JUDGMENT CONDITIONS FOR FATHER TO SEE HIS CHILDREN
                                                                                                                                                                               EXHIBIT 20



CONDITION                                        DETAIL OF WHAT FATHER MUST DO                                      POSSIBLE TO MEET?                       FATHER'S BASIC RIGHTS VIOLATED?
                                                 The final Oregon Custody and Parenting Time judgment must
                                                 be registered and enforced in France, as well as in all other      IMPOSSIBLE LEGALLY, FRENCH LAW SIMPLY
                                                                                                                                                            YES, SINCE THIS CONDITION IS IMPOSSIBLE TO MEET THEN
Registration and Enforcement of                  states and counties where you registered the French custody        DOESN'T ALLOW A JUDGMENT MADE
                                                                                                                                                            THIS JUDGMENT SIMPLY VIOLATES THE FUNDAMENTAL
                                                 judgment. Also, there should be no other duplicative or            WITHOUT A PARTY ALLOWED TOP DEFEND
Oregon Judgment in France                                                                                                                                   RIGHT OF FATHER TO BE ABLE TO SEE HIS CHILDREN
                                                 frivolous custody proceedings initiated by you in France,          OR TO BE REPRESENTED BY HIS LAWYER
                                                 Oregon, or any other jurisdiction.

                                                                                                                    NO, FATHER HAS MEDICAL COVERAGE FOR A YES, FOR FATHER TO MEET THIS CONDITION HE WOULD
                                                 Father must establish a permanent place of residence in
                                                                                                                    LIFELONG CONDITION IN FRANCE AND HE   HAVE TO MOVE TO ASHLAND AND ESTABLISH A RESIDENCE
Permanent Residence of Father in                 Ashland, OREGON that can adequately and safely
                                                                                                                    WOULD LOSE IT IF HE ESTABLISHES HIS   THERE, CONSIDERING THE COST OF LIVING HE WOULD HAVE
                                                 accommodate the children, including a separate bedroom for
Oregon                                                                                                              RESIDENCE IN THE USA, PLUS A HOME IN  TO GIVE UP LIVING IN FRANCE, THIS IS VIOLATING FATHER'S
                                                 them in a safe environment.
                                                                                                                    ASHLAND IS MINIMUM $3000 PER MONTH    FUNDAMENTAL RIGHT TO LIVE WHERE HE WANTS


                                                                                                                   NO, FATHER DOESN'T HAVE ANY FINANCIAL
                                                 Father must post a bond of $150,000, payable to the mother, in RESOURCE LEFT BECAUSE OF ONGOING
                                                                                                                                                           YES, THIS VIOLATES THE FUNDAMENTAL RIGHT OF FATHER
Bond Posting of $150,000 by Father               the event he takes the children out of Oregon in violation of the LITIGATION IN OREGON IMPOSED BY
                                                                                                                                                           TO BE ABLE TO SEE HIS CHILDREN
                                                 parenting plan.                                                   MOTHER IN BAD FAITH FOR OVER 2 YEARS IN
                                                                                                                   PARALLEL TO FRENCH ONE STARTED FIRST

                                                                                                                                                            YES, THIS VIOLATES THE FUNDAMENTAL RIGHT OF FATHER
Access to Activities and Events of the           Father is not allowed to attend the children's school activities
                                                                                                                    YES, THOUGH UNCONSTITUTIONAL            TO BE ABLE TO SEE HIS CHILDREN AND BE INVOLVED IN
                                                 and athletic events.
Children Forbidden                                                                                                                                          THEIR LIFE
                                                                                                                    IMPOSSIBLE, FATHER LIVES IN FRANCE AND
                                      Father may call the children on the telephone two times per                   THIS TIME IS BETWEEN 3 AM AND 5 AM,    YES, THIS VIOLATES THE FUNDAMENTAL RIGHT OF FATHER
Communication of Father with the
                                      week. The call shall last no more than 15 minutes and shall                   HOW CAN FATHER SLEEP AND WORK IF HE    TO BE ABLE TO COMMUNICATE WITH HIS CHILDREN SINCE HE
Children bewteen 3m and Sam in France take place between 6 PM and 8 PM.                                             HAS TO BE UP EVERY NIGHT WAITING FOR A LIVES IN FRANCE AND CAN'T MOVE TO ASHLAND
                                                                                                                    POSSIBLE PHONE CALL OF HIS CHILDREN?
                                                 If Father has a new female partner, he must inform the             CONSIDERING THE HISTORY OF MOTHER
Notification Requirement of Father's             Mother in writing at least 30 days prior to any intended           HARASSING FATHER BOTH JUDICIALLY AND IN
                                                                                                                                                            YES, THIS VIOLATES THE FUNDAMENTAL RIGHT OF FATHER
                                                 introduction of this new partner to the children. This             HIS WORK THIS COULD LEAD TO MOTHER
                                                                                                                                                            TO HAVE A PARTNER IN HIS LIFE
New Partner                                      notification must include the partner's full name, birth date,     PREVENTING FATHER FROM HAVING ANY
                                                 and current address.                                               PERSONNAL RELATIONSHIP ANYMORE
                                                 The new partner must undergo a psychological evaluation by a
                                                                                                                    IT SEEMS UNLIKELY A NEW PARTNER WOULD
Psychological Evaluation of Father's             licensed psychologist in Jackson County, Oregon, to determine
                                                                                                                    WANT TO BE ENTERING INTO A            YES, THIS VIOLATES THE FUNDAMENTAL RIGHT OF FATHER
                                                 that she poses no risk to the children. This evaluation must be
                                                                                                                    RELATIONSHIP WITH FATHER IF THEY HAVE TO HAVE A PARTNER IN HIS LIFE
New Partner                                      confirmed by the court before the partner can be introduced to
                                                                                                                    TO BE PSYCHOLOGY EVALUATED
                                                 or spend time with the children.
                                                 All contact between the new partner and the children must be       IT SEEMS UNLIKELY A NEW PARTNER WOULD
Court Approval of Father's New Partner           approved by the court. The court may impose additional             WANT TO BE ENTERING INTO A            YES, THIS VIOLATES THE FUNDAMENTAL RIGHT OF FATHER
                                                 conditions or restrictions on the contact as it deems              RELATIONSHIP WITH FATHER IF THEY HAVE TO HAVE A PARTNER IN HIS LIFE
contact with the Children
                                                 appropriate to ensure the children's safety and well-being.        TO BE INVOLVED WITH A US COURT
                                                                                                                    IT SEEMS UNLIKELY A NEW PARTNER WOULD
                                                                                                                                                            YES, THIS VIOLATE THE FUNDAMENTAL RIGHT OF THE
                                                 Father isn't permitted to have a member of the opposite sex,       WANT TO BE ENTERING INTO A SERIOUS
                                                                                                                                                            PARTNER TO NOT WANT TO BE MARRIED, THIS ALSO
No Overnight Stays of Father's Partner           who is not related to Father by blood or marriage, stay            RELATIONSHIP WITH FATHER IF THEY HAVE
                                                                                                                                                            VIOLATES THE FUNDAMENTAL RIGHT OF FATHER TO HAVE A
                                                 overnight during Father's parenting time with the children.        TO BE MARRIED TO EVEN GETTO KNOW HIS
                                                                                                                                                            PARTNER IN HIS LIFE
                                                                                                                    CHILDREN




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